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 9
                        UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
      JOSEPH MENICHIELLO, individually )         Case No.
12
      and on behalf of all others similarly )
13    situated,                             )    CLASS ACTION
14                                          )
      Plaintiff,                            )    COMPLAINT FOR VIOLATIONS
15                                          )    OF:
16           vs.                            )
                                            )       1.      NEGLIGENT VIOLATIONS
17                                                          OF THE TELEPHONE
      411LOCALS.COM; KONSTANTIN )                           CONSUMER PROTECTION
18    STOYANVOV; and DOES 1 through )                       ACT [47 U.S.C. §227(b)]
      10, inclusive, and each of them,      )       2.      WILLFUL VIOLATIONS
19                                                          OF THE TELEPHONE
                                            )               CONSUMER PROTECTION
20    Defendant.                            )               ACT [47 U.S.C. §227(b)]
21                                          )       3.      NEGLIGENT VIOLATIONS
                                                            OF THE TELEPHONE
                                            )               CONSUMER PROTECTION
22
                                            )               ACT [47 U.S.C. §227(c)]
23                                          )       4.      WILLFUL VIOLATIONS
                                                            OF THE TELEPHONE
24
                                            )               CONSUMER PROTECTION
                                            )               ACT [47 U.S.C. §227(c)]
25                                          )
                                            )    DEMAND FOR JURY TRIAL
26
                                            )
27                                          )
28                                          )


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 1          Plaintiff JOSEPH MENICHIELLO (“Plaintiff”), individually and on behalf
 2    of all others similarly situated, alleges the following upon information and belief
 3    based upon personal knowledge:
 4                               NATURE OF THE CASE
 5          1.     Plaintiff brings this action individually and on behalf of all others
 6    similarly situated seeking damages and any other available legal or equitable
 7    remedies resulting from the illegal actions of 411LOCALS.COM and
 8    KONSTANTIN STOYANVOV (“Defendants”), in negligently, knowingly, and/or
 9    willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of the
10    Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and related
11    regulations, specifically the National Do-Not-Call provisions, thereby invading
12    Plaintiff’s privacy.
13                              JURISDICTION & VENUE
14          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15    a resident of California, seeks relief on behalf of a Class, which will result in at
16    least one class member belonging to a different state than that of Defendants, who
17    are Nevada residents. Plaintiff also seeks up to $1,500.00 in damages for each call
18    in violation of the TCPA, which, when aggregated among a proposed class in the
19    thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
20    Therefore, both diversity jurisdiction and the damages threshold under the Class
21    Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22          3.     Venue is proper in the United States District Court for the Central
23    District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendants do
24    business within the State of California and Plaintiff resides within the County of
25    Orange.
26                                        PARTIES
27          4.     Plaintiff, JOSEPH MENICHIELLO (“Plaintiff”), is a natural person
28    residing in Huntington Beach, California and is a “person” as defined by 47 U.S.C.


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 1    § 153 (39).
 2          5.      Defendant, 411LOCALS.COM (“Defendant 411LOCALS”) is a
 3    online marketing business of unknown entity with its principal place of business in
 4    Las Vegas, Nevada, and is a “person” as defined by 47 U.S.C. § 153 (39).
 5          6.      Defendant,      KONSTANTIN           STOYANVOV            (“Defendant
 6    STOYANVOV”), is an individual who at all relevant times was the president of
 7    Defendant 411LOCALS. As president of Defendant 411LOCALS, Defendant
 8    STOYANVOV was responsible for the overall success of the company. Defendant
 9    STOYANVOV materially participated in soliciting of online marketing services by
10    occupying a position of critical importance to Defendant 411LOCALS’ business.
11    As the president of Defendant 411LOCALS, Defendant STOYANVOV is liable
12    for the nefarious conduct engaged in by Defendant 411LOCALS and its agents
13    acting on Defendant 411LOCALS’ behalf. Defendant STOYANVOV continued to
14    play a key role in maintaining and expanding Defendant 411LOCALS’ activities
15    throughout the time in question.
16          7.      The above named Defendants, and their subsidiaries and agents, are
17    collectively referred to as “Defendants.” The true names and capacities of the
18    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
19    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
20    names. Each of the Defendants designated herein as a DOE is legally responsible
21    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
22    Complaint to reflect the true names and capacities of the DOE Defendants when
23    such identities become known.
24          8.      Plaintiff is informed and believes that at all relevant times, each and
25    every Defendant was acting as an agent and/or employee of each of the other
26    Defendants and was acting within the course and scope of said agency and/or
27    employment with the full knowledge and consent of each of the other Defendants.
28    Plaintiff is informed and believes that each of the acts and/or omissions complained


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 1    of herein was made known to, and ratified by, each of the other Defendants.
 2                               FACTUAL ALLEGATIONS
 3          9.     Beginning in or around August of 2016, Defendant contacted Plaintiff
 4    on Plaintiff’s cellular telephone number ending in -7270, in an attempt to solicit
 5    Plaintiff to purchase Defendants’ services. Plaintiff received such call from
 6    Defendant while within the County of Orange, California
 7          10.    Defendants used an “automatic telephone dialing system” as defined
 8    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiff seeking to solicit its services.
 9          11.    Defendant contacted or attempted to contact Plaintiff from telephone
10    numbers confirmed to belong to Defendant, including and not necessarily limited
11    to (714) 982-1620.
12          12.    Defendants’ calls constituted calls that were not for emergency
13    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
14          13.    Defendants’ calls were placed to telephone number assigned to a
15    cellular telephone service for which Plaintiff incurs a charge for incoming calls
16    pursuant to 47 U.S.C. § 227(b)(1).
17          14.    During all relevant times, Defendants did not possess Plaintiff’s “prior
18    express consent” to receive calls using an automatic telephone dialing system or an
19    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
20    227(b)(1)(A).
21          15.    Further, Plaintiff’s cellular telephone number ending in -7270 has
22    been on the National Do-Not-Call Registry since at least February 22, 2007.
23          16.    Defendants placed multiple calls soliciting its business to Plaintiff on
24    his cellular telephone ending in -7270 in or around August of 2016.
25          17.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
26    64.1200(c)(2) as they were attempts to promote or sell Defendants’ services.
27          18.    Plaintiff received numerous solicitation calls from Defendants within
28    a 12-month period.


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 1          19.    Defendants continued to call Plaintiff in an attempt to solicit its
 2    services and in violation of the National Do-Not-Call provisions of the TCPA.
 3          20.    Upon information and belief, and based on Plaintiff’s experiences of
 4    being called by Defendants after being on the National Do-Not-Call list for several
 5    years prior to Defendants’ initial call, and at all relevant times, Defendants failed
 6    to establish and implement reasonable practices and procedures to effectively
 7    prevent telephone solicitations in violation of the regulations prescribed under 47
 8    U.S.C. § 227(c)(5).
 9                                CLASS ALLEGATIONS
10          21.    Plaintiff brings this action individually and on behalf of all others
11    similarly situated, as a member the two proposed classes (hereafter, jointly, “The
12    Classes”).
13          22.    The class concerning the ATDS claim for no prior express consent
14    (hereafter “The ATDS Class”) is defined as follows:
15
                   All persons within the United States who received any
16                 solicitation/telemarketing   telephone   calls    from
17                 Defendants to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
18
                   system or an artificial or prerecorded voice and such
19                 person had not previously consented to receiving such
20
                   calls within the four years prior to the filing of this
                   Complaint
21
22          23.    The class concerning the National Do-Not-Call violation (hereafter
23    “The DNC Class”) is defined as follows:
24
                   All persons within the United States registered on the
25                 National Do-Not-Call Registry for at least 30 days, who
26                 had not granted Defendants prior express consent nor
                   had a prior established business relationship, who
27
                   received more than one call made by or on behalf of
28                 Defendants that promoted Defendants’ products or


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 1                  services, within any twelve-month period, within four
                    years prior to the filing of the complaint.
 2
 3          24.     Plaintiff represents, and is a member of, The ATDS Class, consisting
 4    of all persons within the United States who received any collection telephone calls
 5    from Defendants to said person’s cellular telephone made through the use of any
 6    automatic telephone dialing system or an artificial or prerecorded voice and such
 7    person had not previously not provided their cellular telephone number to
 8    Defendants within the four years prior to the filing of this Complaint.
 9          25.     Plaintiff represents, and is a member of, The DNC Class, consisting
10    of all persons within the United States registered on the National Do-Not-Call
11    Registry for at least 30 days, who had not granted Defendants prior express consent
12    nor had a prior established business relationship, who received more than one call
13    made by or on behalf of Defendants that promoted Defendants’ products or
14    services, within any twelve-month period, within four years prior to the filing of
15    the complaint.
16          26.     Defendants, including their employees and agents, are excluded from
17    The Classes. Plaintiff does not know the number of members in The Classes, but
18    believes the Classes members number in the thousands, if not more. Thus, this
19    matter should be certified as a Class Action to assist in the expeditious litigation of
20    the matter.
21          27.     The Classes are so numerous that the individual joinder of all of its
22    members is impractical. While the exact number and identities of The Classes
23    members are unknown to Plaintiff at this time and can only be ascertained through
24    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
25    The Classes includes thousands of members. Plaintiff alleges that The Classes
26    members may be ascertained by the records maintained by Defendants.
27          28.     Plaintiff and members of The ATDS Class were harmed by the acts of
28    Defendants in at least the following ways: Defendants illegally contacted Plaintiff


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 1    and ATDS Class members via their cellular telephones thereby causing Plaintiff
 2    and ATDS Class members to incur certain charges or reduced telephone time for
 3    which Plaintiff and ATDS Class members had previously paid by having to retrieve
 4    or administer messages left by Defendants during those illegal calls, and invading
 5    the privacy of said Plaintiff and ATDS Class members.
 6          29.    Common questions of fact and law exist as to all members of The
 7    ATDS Class which predominate over any questions affecting only individual
 8    members of The ATDS Class. These common legal and factual questions, which
 9    do not vary between ATDS Class members, and which may be determined without
10    reference to the individual circumstances of any ATDS Class members, include,
11    but are not limited to, the following:
12                 a.     Whether, within the four years prior to the filing of this
13                        Complaint, Defendants made any telemarketing/solicitation
14                        call (other than a call made for emergency purposes or made
15                        with the prior express consent of the called party) to a ATDS
16                        Class member using any automatic telephone dialing system or
17                        any artificial or prerecorded voice to any telephone number
18                        assigned to a cellular telephone service;
19                 b.     Whether Plaintiff and the ATDS Class members were damaged
20                        thereby, and the extent of damages for such violation; and
21                 c.     Whether Defendants should be enjoined from engaging in such
22                        conduct in the future.
23          30.    As a person that received numerous telemarketing/solicitation calls
24    from Defendants using an automatic telephone dialing system or an artificial or
25    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
26    claims that are typical of The ATDS Class.
27          31.    Plaintiff and members of The DNC Class were harmed by the acts of
28    Defendants in at least the following ways: Defendants illegally contacted Plaintiff


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 1    and DNC Class members via their telephones for solicitation purposes, thereby
 2    invading the privacy of said Plaintiff and the DNC Class members whose telephone
 3    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
 4    members were damaged thereby.
 5          32.    Common questions of fact and law exist as to all members of The
 6    DNC Class which predominate over any questions affecting only individual
 7    members of The DNC Class. These common legal and factual questions, which do
 8    not vary between DNC Class members, and which may be determined without
 9    reference to the individual circumstances of any DNC Class members, include, but
10    are not limited to, the following:
11                 a.     Whether, within the four years prior to the filing of this
12                        Complaint, Defendants or its agents placed more than one
13                        solicitation call to the members of the DNC Class whose
14                        telephone numbers were on the National Do-Not-Call Registry
15                        and who had not granted prior express consent to Defendants
16                        and did not have an established business relationship with
17                        Defendants;
18                 b.     Whether Defendants obtained prior express written consent to
19                        place solicitation calls to Plaintiff or the DNC Class members’
20                        telephones;
21                 c.     Whether Plaintiff and the DNC Class member were damaged
22                        thereby, and the extent of damages for such violation; and
23                 d.     Whether Defendants should be enjoined from engaging in such
24                        conduct in the future.
25          33.    As a person that received numerous solicitation calls from Defendants
26    within a 12-month period, who had not granted Defendants prior express consent
27    and did not have an established business relationship with Defendants, Plaintiff is
28    asserting claims that are typical of the DNC Class.


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 1          34.    Plaintiff will fairly and adequately protect the interests of the members
 2    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
 3    class actions.
 4          35.    A class action is superior to other available methods of fair and
 5    efficient adjudication of this controversy, since individual litigation of the claims
 6    of all Classes members is impracticable. Even if every Classes member could
 7    afford individual litigation, the court system could not. It would be unduly
 8    burdensome to the courts in which individual litigation of numerous issues would
 9    proceed. Individualized litigation would also present the potential for varying,
10    inconsistent, or contradictory judgments and would magnify the delay and expense
11    to all parties and to the court system resulting from multiple trials of the same
12    complex factual issues. By contrast, the conduct of this action as a class action
13    presents fewer management difficulties, conserves the resources of the parties and
14    of the court system, and protects the rights of each Classes member.
15          36.    The prosecution of separate actions by individual Classes members
16    would create a risk of adjudications with respect to them that would, as a practical
17    matter, be dispositive of the interests of the other Classes members not parties to
18    such adjudications or that would substantially impair or impede the ability of such
19    non-party Class members to protect their interests.
20          37.    Defendants have acted or refused to act in respects generally
21    applicable to The Classes, thereby making appropriate final and injunctive relief
22    with regard to the members of the Classes as a whole.
23                             FIRST CAUSE OF ACTION
24           Negligent Violations of the Telephone Consumer Protection Act
25                                    47 U.S.C. §227(b).
26                             On Behalf of the ATDS Class
27          38.    Plaintiff repeats and incorporates by reference into this cause of action
28    the allegations set forth above at Paragraphs 1-37.


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 1         39.    The foregoing acts and omissions of Defendants constitute numerous
 2   and multiple negligent violations of the TCPA, including but not limited to each
 3   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
 4   47 U.S.C. § 227 (b)(1)(A).
 5         40.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b),
 6   Plaintiff and the Class Members are entitled an award of $500.00 in statutory
 7   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 8         41.    Plaintiff and the ATDS Class members are also entitled to and seek
 9   injunctive relief prohibiting such conduct in the future.
10                           SECOND CAUSE OF ACTION
11    Knowing and/or Willful Violations of the Telephone Consumer Protection
12                                           Act
13                                   47 U.S.C. §227(b)
14                             On Behalf of the ATDS Class
15         42.    Plaintiff repeats and incorporates by reference into this cause of action
16   the allegations set forth above at Paragraphs 1-37.
17         43.    The foregoing acts and omissions of Defendants constitute numerous
18   and multiple knowing and/or willful violations of the TCPA, including but not
19   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
20   and in particular 47 U.S.C. § 227 (b)(1)(A).
21         44.    As a result of Defendants’ knowing and/or willful violations of 47
22   U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
23   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
24   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
25         45.    Plaintiff and the Class members are also entitled to and seek injunctive
26   relief prohibiting such conduct in the future.
27   ///
28   ///


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 1                             THIRD CAUSE OF ACTION
 2          Negligent Violations of the Telephone Consumer Protection Act
 3                                   47 U.S.C. §227(c)
 4                              On Behalf of the DNC Class
 5         46.    Plaintiff repeats and incorporates by reference into this cause of action
 6   the allegations set forth above at Paragraphs 1-37.
 7         47.    The foregoing acts and omissions of Defendants constitute numerous
 8   and multiple negligent violations of the TCPA, including but not limited to each
 9   and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
10   47 U.S.C. § 227 (c)(5).
11         48.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c),
12   Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
13   damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
14         49.    Plaintiff and the DNC Class members are also entitled to and seek
15   injunctive relief prohibiting such conduct in the future.
16                             FOURTH CAUSE OF ACTION
17    Knowing and/or Willful Violations of the Telephone Consumer Protection
18                                           Act
19                                 47 U.S.C. §227 et seq.
20                              On Behalf of the DNC Class
21         50.    Plaintiff repeats and incorporates by reference into this cause of action
22   the allegations set forth above at Paragraphs 1-37.
23         51.    The foregoing acts and omissions of Defendants constitute numerous
24   and multiple knowing and/or willful violations of the TCPA, including but not
25   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
26   in particular 47 U.S.C. § 227 (c)(5).
27         52.    As a result of Defendants’ knowing and/or willful violations of 47
28   U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of


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 1   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 2   § 227(c)(5).
 3         53.      Plaintiff and the DNC Class members are also entitled to and seek
 4   injunctive relief prohibiting such conduct in the future.
 5                                 PRAYER FOR RELIEF
 6   WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 7                              FIRST CAUSE OF ACTION
 8          Negligent Violations of the Telephone Consumer Protection Act
 9                                    47 U.S.C. §227(b)
10                As a result of Defendants’ negligent violations of 47 U.S.C.
11                  §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
12                  request $500 in statutory damages, for each and every violation,
13                  pursuant to 47 U.S.C. 227(b)(3)(B).
14                Any and all other relief that the Court deems just and proper.
15                            SECOND CAUSE OF ACTION
16    Knowing and/or Willful Violations of the Telephone Consumer Protection
17                                            Act
18                                    47 U.S.C. §227(b)
19                As a result of Defendants’ willful and/or knowing violations of 47
20                  U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
21                  entitled to and request treble damages, as provided by statute, up to
22                  $1,500, for each and every violation, pursuant to 47 U.S.C.
23                  §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
24                Any and all other relief that the Court deems just and proper.
25                             THIRD CAUSE OF ACTION
26          Negligent Violations of the Telephone Consumer Protection Act
27                                    47 U.S.C. §227(c)
28                As a result of Defendants’ negligent violations of 47 U.S.C.


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 1                §227(c)(5), Plaintiff and the DNC Class members are entitled to and
 2                request $500 in statutory damages, for each and every violation,
 3                pursuant to 47 U.S.C. 227(c)(5).
 4                Any and all other relief that the Court deems just and proper.
 5                           FOURTH CAUSE OF ACTION
 6    Knowing and/or Willful Violations of the Telephone Consumer Protection
 7                                            Act
 8                                    47 U.S.C. §227(c)
 9                As a result of Defendants’ willful and/or knowing violations of 47
10                U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
11                to and request treble damages, as provided by statute, up to $1,500,
12                for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
13                Any and all other relief that the Court deems just and proper.
14                                    JURY DEMAND
15         54.    Pursuant to the Seventh Amendment to the Constitution of the United
16   States of America, Plaintiff is entitled to, and demands, a trial by jury.
17
18
19         Respectfully Submitted this 27th Day of March, 2018.
20                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
21
                                       By: /s/ Todd M. Friedman
22                                         Todd M. Friedman
23
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
24
25
26
27
28



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